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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                        )
                                               )    CASE NO. 18-59724-JWC
 LAKWESSIA QUIAN FALLIN aka                    )
 LAKEISHA FALLIN,                              )    CHAPTER 13

       Debtor.                                 )
                                               )
 LAKWESSIA QUIAN FALLIN aka                    )
 LAKEISHA FALLIN,                              )
                                               )
       Movant,                                 )
                                               )    CONTESTED MATTER
       v.                                      )
                                               )
 E R TRUCKING aka E.R. TRUCK &                 )
 EQUIPMENT CORPORATION,                        )

       Respondent.

            COMPLAINT FOR TURNOVER AND MOTION FOR SANCTIONS
              FOR WILLFUL VIOLATION OF THE AUTOMATIC STAY
                     PURSUANT TO 11 U.S.C. SECTION 362

       COMES NOW THE DEBTOR in the above-styled Chapter 13 case, by and through

counsel, and files this “Complaint for Turnover and Motion for Sanctions for Willful Violation

of the Automatic Stay Pursuant to 11 U.S.C. Section 362”, showing to this Court the following:

                                               1.

       This Court has jurisdiction in this matter pursuant to 28 U.S.C. Section 1334, 28 U.S.C.

Section 151, and 28 U.S.C. Section 157.

                                               2.

       This Court is the proper venue for this matter pursuant to 28 USC Section 1409.



                                               3.

      This matter is a core proceeding within the contemplation of 28 U.S.C. Section 157.
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       Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United

States Code June 11, 2018 and is eligible for relief under 11 U.S.C. §109.

                                                 5.

       This motion is brought pursuant to 11 U.S.C. Section 362(a) and (k)(1)); 11 U.S.C.

Section 105(a); and, Rule 9014 F. R. Bankr. P.

                                                 6.

       Upon information and belief, E.R. Trucking and Equipment Corporation is a

Florida Corporation and can be served via its Registered Agent and CEO via first class

mail, to-wit:

                Ernesto Raschio, Registered Agent
                11222 NW 78 Ln
                Medley FL 33178

                Bruno Raschio, President
                12360 NW S River Drive
                Medley FL 33178


                                                 7.

       Debtor, an individual, filed the instant Chapter 13 case on June 11, 2018 in an effort

to retain her 2008 CX613 Mack Dumptruck from E.R. Trucking & Equipment Corporation,

and to satisfy other debts and creditors. Based on reliable information and belief, the truck

was repossessed post-petition on June 27, 2018 at 11:05 PM.       Video surveillance from a

nearby business evidences an individual, not the Debtor, approaching the dumptruck, getting

inside of the vehicle and driving away with the vehicle.

                                                 8.

       On or about June 28, 2018 Debtor notified Stanton & Worthy, LLC and Debtor’s

Attorney informed Respondent E.R. Trucking and Equipment Corporation, via telephone, that

Debtor had filed the instant case. A representative of E.R. Trucking & Equipment Corporation
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believed               Doc 14a manager
         to be Franco Raschio,   Filed 07/10/18     Entered
                                         at E.R. Trucking  and07/10/18 17:18:03
                                                               Equipment          Desc
                                                                         Corporation, andMain
                                 Document         Page 3 of 8
Bruno Raschio, President have both refused to turn over the 2008 CX613 Mack Dumptruck to

Debtor, and acknowledged that Debtor is in a current bankruptcy. Again, on July 5, 2018 in an

effort to resolve this matter, Debtor’s Attorney called and spoke with Bruno Raschio. At that

time, Bruno Raschio acknowledged that Debtor is in a bankruptcy and refused to release the

vehicle. Furthermore, Bruno Raschio advised that the vehicle has since been moved across

state lines to Miami, Florida and that without proof of insurance or the Debtor coming to pick it

up, it would not be released. Debtor has valid insurance on the vehicle, which the Respondent

admittedly has not attempted to verify. Also, this is further evidenced by the fact that the

vehicle was released during the resolution of this same matter during debtor’s previous Chapter

13 case. It must be pointed out that Debtor’s last case was unsuccessful because of the

extensive time she was without the vehicle and due to the expenses that she incurred. Debtor

was unable to work and generate income from her trucking business without possession of the

dumptruck. Lastly, due to Respondent’s actions and verbal communications, it is clear that

Respondent still refuses to return the vehicle for reasons that are not based in law. Respondent

is fully aware of its obligations under the Chapter 13 Bankruptcy, specifically due to the fact

that this was the same course of behavior they engaged in during Debtor’s previous Chapter 13

Case (Case No. 18-54798).

                                                 9.

       Respondent's knowledge of the Debtor’s instant Chapter 13 case and blatant refusal to

release the vehicle constitutes and demonstrates a willful and knowing violation of the

Automatic Stay of 11 U.S.C. Section 362 (a).
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        Debtor has been harmed by Respondent’s continuous violation of the Automatic Stay.

Specifically, Debtor has maintained insurance of approximately $1,000.00 monthly on a vehicle

that she has again been unable to use to run her business and generate income. Rather, she has

incurred extensive expenses, time, and loss of income due to Respondent’s actions. Debtor has

done her best to effectuate her reorganization Chapter 13 case, and has secured other

employment as well to show her good faith efforts in maintaining her Chapter 13 case. Pursuant

to 11 U.S.C. Section 362 (k), Debtor is entitled to damages, including attorney’s fees, arising out

of the Respondent’s knowledge and willful violation of the Automatic Stay of 11 U.S.C. Section

362 (a).

                                                11.

        Pursuant to 11 U.S.C. Section 362 (h), punitive damages should be awarded against the

Respondent for its continuing, willful and knowing violation of the Automatic Stay in this

case.

                                                12.

        The Automatic Stay of 11 U.S.C. Section 362 (a) should be enforced against Respondents

and they should be directed to immediately release the hold on Debtor Lakwessia Q. Fallin‘s

vehicle and release the vehicle to Debtor.



        WHEREFORE, Debtor prays:
        (a) That this Motion be filed, read, and considered;
        (b) That this Honorable Court grant this Motion;
        (c) That this Honorable Court hold hearing on the issues set forth herein;

        (d) That Respondent be held in contempt for willful violation of the automatic stay;

        (e) That Respondent be responsible for any and all expenses associated with the return of
            the vehicle to Debtor’s possession, including but not limited to damages to the
            vehicle;
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      (f) That Debtor be    14 Filed
                          awarded       07/10/18
                                   damages,          Entered
                                             including but not07/10/18
                                                               limited to17:18:03    Desc Main
                                                                          actual damages
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          incurred and attorney’s fees and costs from Respondent in the amount of $2,500.00;
       (g) That Debtor be awarded punitive damages from Respondent in the amount of
          $2,000.00 to deter them from continuing to engage in the same course of willful
          conduct in the future;
       (h) And that Honorable Court grant such further relief as it may deem just and proper.


Dated July 10, 2018                         Respectfully submitted,

                                            /s/Shannon C. Worthy
                                            Shannon C. Worthy
                                            GA Bar No.733895
                                            Attorney for Debtor
                                            Stanton & Worthy, LLC
                                            547 Ponce De Leon Avenue, Suite 150
                                            Atlanta, GA 30324
                                            (404) 800-6415
                                            Shannon.worthy@stant
                                            onandworthy.com
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        Debtor.                                  )
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                                                 )
        Movant,                                  )
                                                 )   CONTESTED MATTER
        v.                                       )
                                                 )
 E R TRUCKINGG aka E.R. TRUCK &                  )
 EQUIPMENT CORPORATION,                          )

        Respondent.


                                 CERTIFICATE OF SERVICE

       This is to certify under penalty of perjury that I am over the age of 18 and that on this day
I served the following parties with a copy of the attached pleadings by placing true copies of
same in the United States Mail with adequate postage affixed to insure delivery, addressed to:

                                        Nancy J. Whaley
                                       Chapter 13 Trustee
                               303 Peachtree Center Ave, Suite 120
                                     Atlanta, Georgia 30303

                                       Lakwessia Q. Fallin
                                         PO Box 490623
                                        Atlanta GA 30349

                              E.R. Truck & Equipment Corporation
                                    12360 NW S River Drive
                                       Medley, FL 33178

                                Ernesto Raschio, Registered Agent
                                         11222 NW 78 Ln
                                          Medley FL 33178
                                        (via certified mail)
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                                                 President
                                12360 NW S River Drive
                                    Medley FL 33178
                                   (via certified mail)

                               Franco Raschio, President
                               12360 NW S River Drive
                                 Medley FL 33178
                                  (via certified mail)

Dated July 10, 2018                    Respectfully submitted,

                                       /s/Shannon C. Worthy
                                       Shannon C. Worthy
                                       GA Bar No.733895
                                       Attorney for Debtor
                                       Stanton & Worthy, LLC
                                       547 Ponce De Leon Avenue, Suite 150
                                       Atlanta, GA 30324
                                       (405) 800-6415
                                       Shannon.worthy@stant
                                       onandworthy.com
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